                     Case: 23-50668 Document: 80 Page: 1 Date Filed: 11/10/2023
                  127,&(2)FORM FOR APPEARANCE 6HH)LIWK&LU5XOH
Only attorneys admitted to the Bar of this Court PD\ practice before the Court. Each attorney representing
a party must complete a separate form. (COMPLETE ENTIRE FORMXQOHVVRWKHUZLVHQRWHG).
                              )LIWK&LU&DVHNO.          23-50668

Book People, Inc. et al.                                                    vs. Martha Wong, TX State Library & Archives Comm'n,
(6KRUW7LWOH)
The Clerk will enter my appearance as Counsel for Book People, Inc.; VBK, Inc. d/b/a Blue Willow Bookshop;

 American Booksellers Association; Association of American Publishers; Authors Guild, Inc.; and
 Comic Book Legal Defense Fund
______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) Amicus Curiae

                                         Appellant(s)             ✔ Appellee(s)                                Intervenor

   ✔ I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ William Reid Pillifant                                                      reid.pillifant@haynesboone.com
(Signature)                                                                      (e-mail address)

 William Reid Pillifant                                                           24126157
(Type or print name)                                                             (State/Bar No.)


(Title, if any)

 @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
 Haynes and Boone, LLP
(Firm or Organization)
Address                  600 Congress Avenue, Suite 1300

City & State Austin, Texas                                                                            Zip 78701

Primary Tel._ 512-867-8514                     Cell Phone:                                         2SWLRQDO
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. 2ther counsel PXVWPonitor the court's website for the posting of oral argument calendars.
                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
Name of Lead Counsel: Laura      Lee Prather
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.


B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No
                                                                  ✔
           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No
                                                                  ✔
           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes
                                                                  ✔    No

         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case No
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case




Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                        DKT-5A REVISED -XQH
